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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
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 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorneys for Defendant
     MARTIN BAHRAMI
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                    Case No. 1:15-cr-0045-LJO
12                     Plaintiff,                  STIPULATION TO ADVANCE
                                                   SENTENCING; ORDER
13    vs.
                                                   Date: October 15, 2019
14    MARTIN BAHRAMI,                              Time: 9:30 a.m.
                                                   Judge: Hon. Lawrence J. O’Neill
15                    Defendant.
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, through their
18   respective attorneys of record, Assistant United States Attorney, HENRY CARBAJAL, counsel
19   for plaintiff and Assistant Federal Defender, MEGAN T. HOPKINS, counsel for defendant, that
20   the sentencing hearing set for October 21, 2019, be advanced to October 15, 2019 at 9:30 a.m.
21          Sentencing in this matter has been trailing the trial schedule for co-defendants since Mr.
22   Bahrami’s change of plea on November 16, 2015. As of the date of this stipulation, there are no
23   remaining co-defendants scheduled for trial. Additionally, counsel for Mr. Bahrami has accepted
24   a position with the Federal Defender’s Office in Sacramento and is scheduled to begin working
25   out of that office on October 21, 2019, and would therefore not be available to appear for
26   sentencing in this matter in Fresno on that same date.
27          A presentence report has already been prepared in this matter and as such, the
28   advancement of the sentencing date will not adversely affect the probation office. The parties
     are prepared to go forward with sentencing one week in advance to accommodate defense
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 1   counsel’s request and ensure that Mr. Bahrami has continuity of counsel at his sentencing
 2   hearing.
 3               The parties further request that sentencing be held at 9:30 a.m., or any time thereafter that
 4   the Court is available, in order to accommodate Mr. Bahrami and his family members who will
 5   be attending the hearing, all of whom reside in Turlock, CA1.
 6
 7                                                                  Respectfully submitted,
 8                                                                  HEATHER E. WILLIAMS
                                                                    Federal Defender
 9
10   DATED: August 19, 2019                                         /s/ Megan T. Hopkins
                                                                    Megan T. Hopkins
11                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
12                                                                  Martin Bahrami
13
                                                                    McGREGOR W. SCOTT
14                                                                  United States Attorney
15
16   DATED: August 19, 2019                                         /s/ Henry Carbajal
                                                                    HENRY CARBAJAL
17                                                                  Assistant United States Attorney
                                                                    Attorney for Plaintiff
18
19
                                                         ORDER
20
21   IT IS SO ORDERED.
22
            Dated:        August 21, 2019                             /s/ Lawrence J. O’Neill _____
23                                                         UNITED STATES CHIEF DISTRICT JUDGE

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     1
         Turlock, CA is more than 80 miles from the District Courthouse in Fresno, CA.
         Bahrami / Stip to Advance Sentencing                 -2-
